Case: 19- $7944-KHT ~OQetk37 Filed:10/20/20 Entered:10/21/20 12:08:13 Pagel of 20_

October 19, 2020

Bankruptcy Judge Kimberly H. Tyson: 20CT 26 12044PN

Statute of Limitations:
Known in Civil Law as a prescribed period of time to set a maximum time after an event within
which legal proceedings may be initiated.

Fraud: 1 year for actions under 13-8-703g; 3 years under 13-8—101 (1) ( c) if: 2HOCT ZA 124 4EN
Injury to personal property—3 years 13-8—101(n), if; use or operation of a collection of debt
on account: 6 years if contact 13-8—103.05

Inception date for case: 2002

Collection of Rentals (rents) 6 years 13-80-1035 (i) (6)

1. Inception Date of court actions are clearly not allowed, as it is a violation of an established
law that is in place.

2. That knowingly and with clear intent, the court violated the Defendant Long’s constitutional
rights. Under the 14° amendment of the United States Equal Protection Clause.

3. That under the U.S. Constitution 8° Amendment causing cruel and unusual punishment By
actions and conduct. (see attached judgments and losses of properties) By proceeding in
clear violation of the law, as to the statute of limitations. Period not to exceed the 3 years.

4. That the proceedings were illegal from the beginning through the disposition of the case

5. That, under the Canon Code of Ethics for Attorney’s, Mr. Long was never represented with
the standards set to effectively repress a client at all stages of the proceedings.

6. Defendant Long has never had his day in court. Based on biased judge, H. Ross Buchanan,
(see statement of judge, unclean hands at the inception of case).

7. The Trial Court failed to protect the defendant Mr. Long at every state of the case before
the court.

8. Mr. Long’s Attorney Robert Abrams colluded with the opposing attorney R. Bret Beattie
causing a conflict of interest between Mr. Long and his Attorney Robert Abrams (see
attached copy of memo.

9. The trial court judge did not allow examination and inspection of documents presented that
would have been exculpatory evidence to support Mr. Long’s defense.

10. That through action of Mr. Long’s Attorney Robert Abrams, by last minute threats right
before trial Attorney Robert Abrams did in fact send a memo to Mr. Long’ stating that
unless he brought him additional monies in the form of two checks $2,500 each and an
additional amount, he would not proceed and would quit the case.

11. Then Attorney Abrams, had a memo transmitted to the opposing attorney stating that he
would withdraw from the case and that he would not have representation (see memo).

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12. That because of the ill-representation of Attorney Abrams, Defendant Long’s loss of
$32,800.00 would have gone to Defendant Long.

Substantive Charge: Fraud: found not guilty. Dismissed with Prejudice by Court.

Elements not met for other charges that Defendant was found guilty of. No Factual Basis was
ever presented to support the Charges of Theft, Civil Fraudulent Concealment, Breach of
Fiduciary Duty, Aiding and abetting. No independent evidence was ever presented to support
the charges and convictions of the other charges. (See attachments in support)

Signed by Defendant

foodie. We Por Z Date /Q~/9- 2-2
ao

DATED thisthe 77 dayof__ Get pier _, 2020

Alia pe Ye tn
Signature of Debtor

, .
SWORN to and subscribed before me, this the | 7 day ot Latobss , 2020
TRACIE L. PHILLIPS DL, “be oy
NOTARY PUBLIC Lee cb dle

STATE OF COLORADO NOTARY PUBLIC

NOTARY ID 20034028731
MY COMMISSION EXPIRES SEPTEMBER 5, 2023

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Colorado Secretary of State
Date and Time: 08/03/2005 01:03 PM
Document processing fee

If document is filed on paper $125.00 Entity Id: 19901025928
If document is filed electronically $ 50.00 Document number: 20051295497
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Sa

Articles of Amendment
filed pursuant to §7-90-301, et seq. and §7-1 10-106 of the Colorado Revised Statutes (C.R.S.)

ID number: 19901025928

1, Entity name:

R & L INVESTMENTS CORPORATION

Uf changing the name of the corporation, indicate name
BEFORE the name change)

2. New Entity name:

(if applicable)
ROD'S CARS, INC.

3. Use of Restricted Words (if any of these , ’
terms are contained in an entity name, true [-] “bank” or “trust” or any derivative thereof
‘name of an entity, trade name or trademark [-] “credit union” [[] “savings and loan”
stated in this document, mark the applicable [] “insurance”, “casualty”, “mutual”, or “surety”
box):

4. Other amendments, if any, are attached.

5. If the amendment provides for an exchange, reclassification or cancellation of issued shares, the attachment
states the provisions for implementing the amendment.

6. If the corporation’s period of duration
as amended is less than perpetual, state
the date on which the period of duration
expires:

(mm/dd/yy)
OR

If the corporation’s period of duration as amended is perpetual, mark this box:

7. (Optional) Delayed effective date:

(mm/dd/yy)

Notice:

Causing this document to be delivered to the secretary of state for filing shall constitute the affirmation or
acknowledgment of each individual causing such delivery, under penalties of perjury, that the document is the
individual's act and deed, or that the individual in good faith believes the document is the act and deed of the
person on whose behalf the individual is causing the document to be delivered for filing, taken in conformity

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with the requirements of part 3 of article 90 of title 7, C.R.S., the constituent documents, and the organic
statutes, and that the individual in good faith believes the facts stated in the document are true and the
document complies with the requirements of that Part, the constituent documents, and the organic statutes,

This perjury notice applies to each individual who causes this document to be delivered to the secretary of
state, whether or not such individual is named in the document as one who has caused it to be delivered.

8, Name(s) and address(es) of the
individual(s) causing the document
to be delivered for filing: BISHOP TRACY L.
(Last) (First) (Middle) (Suffix)
1219 E. 36TH AVENUE

(Street name and number or Post Office information)

DENVER CO = 80205
(City) (State) (Postal/Zip Code)
United States
(Province ~ if applicable) (Country — if not US)

(The document need not state the true name and address of more than one individual. However, if you wish to state the name and address

of any additional individuals causing the document to be delivered for filing, mark this box C] and include an attachment stating the
name and address of such individuals.)

Disclaimer:

This form, and any related instructions, are not intended to provide legal, business or tax advice, and are
offered as a public service without representation or warranty. While this form is believed to satisfy minimum
legal requirements as of its revision date, compliance with applicable law, as the same may be amended from
time to time, remains the responsibility of the user of this form. Questions should be addressed to the user’s
attorney.

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Lender's right-to re}oc! ‘the chosen carrier for r k
of Lender, and-shall provide that the insurance cartier vhall notify Lender at feast ton'(10) days before car
covetage, Insurance pofictes shall be fu

Borrower.
o reatoration or repair of the Property damaged, provided su

security of this Deed of Trunt ix nat there’
be impaired, the i

abandoned by Borrower,
Lénder to Borrower that the insurance carr
at-Lender's option, either to restoration or repair o

" cipal and Interest) and 29 (Encrow Funds

and shall be chosen by Borrower subject to

Include a-standard piort gage étsuse in favor
; ination of any mitérialchango of

ices adid-renewala thereof,

fof loss if not made promptly by

ualified to write Property Insurance in Colorado

oviding the insurance shall be qi ‘ ’
bio cause, All insurance policies anid renewals thereof shalt

The insurance carrier pr

cnished to Leniler at or before closing Lender shall have the right to hold the pol
arrier and Lender, Lender mey make proo!

in the event of loss, Borrower ‘shall give prompi notice to the inauranoe ¢

ch restoration or repair is economically feastble and the
lon or repair is not economically feansble or if the security of this Deed of Trust ‘would
ds shall be applied tothe sums secured by this Deed of Trust, with the excess, if eny, paid to Borrower. If the Property is

orif Borrower falls to resporid to Loader within 30 days from the date notice is given in accordance with paragraph 16 (Notion) by
ter offers to settle a claim for insurance benefits, Lender is authorized to collect and appty the insurance proceéds,

fthe Property of to the sums secured by this Deed of Trust,
cipal shall not extend or postpone the due date of the inataliments refe d to in paragraphs 4 (Pay tof Prin-
for Taxes aad Insurance) oF change the t of such installment Notwith disig anything herein to the
contrary, if under paragraph 18 (A ton; Forec} ; Other Remedies) the Property is acquired by Lender, all right, thle and interest of Borrower in
anid to any insurance policies and in and to the procesds thereof Hing from damage to the Property prior to the sale or scqulskion shail pass to Leader
to the extent of the sums secured by this Deod of Truit immediately prior to auch sale or acquisition.
All ofthe rights of Borrower and Lender hereunder with respect to i eriere, i policies and insurance proceeds are subject to the. rights
of.any holder of a prior deed of trust with respect to sald riers, policies and p d
‘§: Preservetion and Maintenance of Property. Borrower shall keep the Property in good rep ' roe

or. deterioration of the Property and shell comply with the provisions of any lease if this Deed of Trust is on « leaseh id. Borrower shall pe form: all of
Borrower's obligaions under any declarations, covenants, by-Ixws, rules, of ober documents governing the use, ownership or occupancy of the Property.
9. Protection of Lender's Security. Except when Borrower has exescised Borrower's rights under paragraph 6 above, ifthe Borrower fails'to perform

the ts and ag t ined in this Deed of Trust, or if a defeukt occurs in a prior tien, or if any action or p ding is mien d.which
materially affecte Lender's intorest in the Property, then Lender, at Lender's option, with notice to Borrower if required by law, may make such appearances,

disburse such sume and take such action as is neceasaly to protect Leader's interest, iachiding, but aot limited to:
ta levied oF ing ageinat the Property;

(a) any general or special taxce or ditch or wates
y to protect any improvements comprising « part of the Property;

‘Insurance proceeds shall be applied t
by impaired. Hfauch restoral

Any such application of proceeds to prin

sir and shall not commit waste or permit impairment

(b) the premiums on any |
(c) eums duc on any prior lien or encumbrance on the Property;
(4) if the Property is a Jeaschold of is aubject to a lease, all sums duc under such bease,
e) thes aa of defending, protecting, and maintaining the Property and Leader's interest in the Property, inctading #9

(e) the reasonable costs and exp: ic
maintenance costs and expenses, costs and expenses of protecting and securing the Property,
fees, court costs, altomey fees and costs, and fees and costs of an attomey inthe employment

(f) all other coxts and expenses allowable by the evidende of debt or thie Deed of Trust, and

() dich otter coats and expenses which may be authorized by a court of competent jurisdiction.

Rotrower hereby assigns to Leader eny right Borrower may have by reason of any prior encumbrance on t

cocciver's fees and expenites, inspection f .
ofthe Leader orhotdér of the ceslifiem dé of purchase, :

he Property or by law of otherwise 10 cure any

defautt under ssid prior encumbrance.

Anys disbursed by Lender p to this paragraph 9, with interest ¢b shall b additions! indebtedness of Borrower. eecured by this,

Deed of Trust, Such amounts shall be payable upon notice from Lender to Borrower req} ing payment tb f, and: Lender may trlaig suit to collect ‘aay
nts wo dishursed plus in 1 specified ia paraguph 2B (Note; Other Obligetions Secured), Jothing contained in this paragraph 9 shell eeqige Lender.

to incur any expense or take any action hereunder. :
10. Inspection, Lendermay make or causeto be made reasonable entries upos and inspection of the Property, provided that Leader shall give Borrower

notice prior to any such inspection specifying reasonable cause therefor related to Lender's interest in the Property.

11, Cond tion. The p ds of any award or olaim for d direct or quential, in cilon with any cond ation or other teking of
the Property, or part thereof, or for conveyance in tieu of condemnation, are hereby assigned and shall be pald to Lender-as berein provided. However, ill
of the rights of Borrower and Lender hereunder with deapect to such proceeds are subject to the rights of ony hotder of « prior deed of trust,

Inthe event of a total taking of the Property, thie proceeds shall be applied to the sums secured by this Deod of Trust, with the excess, if any, paid to
Borrower. In the event of « partial taking of the Propérty, the proceeds remaining after taking out any part of the award due any prior lier holder (net award)
shall be divided between Lander and Borrower, in the same ratio ax the amount of the sums secured by this Deed of Trust immediately prior to the'ds oo
teking bears to Borrower's equity in the Propesty immediately prior (o the date of taking. Borrower's equity ia the Property means the fair niarket'valua of
the Property less the amount of sums secured by both this Deed of Trust and all prior Hene (except taxes) that are to receive any of the iwird, a) at the
value immediately prior to the date of taking “

that the cond offern to make on award of settle a clain for

If the Property is sbandoned by Borrower, or if, after notice by Lander to Bor
within 30 days after the date such notice ia gven, Lender bs authorized to collect and.epply the procesda; at

the sums secured by this Deed of Trust.
dof postpone the due date of the installments referred to in paragraphs 4 (Payment of

damages, Borrower fails to respond to Lender
Lenders option, either to reatoration or repair of the Froperty or to

Any auch application of procecds to principal shall not exten
Principal and Interest) and 23 (Eacrow Funds for Taxes and Insurance) nor change the tof auch installment :
12. Borrower Not Released. Extension of tho {ime for payment or modification of eortization of the sums secured by.this Deed of Trust ginisdby

ot

Lender to any in interest of B shatl not operat to release, ln any monaer, the liability ofthe orignal B rrower, nof Bo: 6 aucces
in interest, from the original terms of this Deed of Trust. Lender shall not be req ned to P dings against such successor or-téfuse to extend
ff any demand made by the original Borrower por

time for payment or otherwise modify amortization of the sums secured by thie Deed of Trust by reason Oo!

Borrower's successors in interest,
13. Ferbesvance by Lender Not a Waiver. Any forbearance by Lender in exercising any right or remedy hereunder, or otherwise afforded. by law,

shall not be a waiver or prectuds the exercise of any seh right or remedy.
14. Remedies Cumulative, Bach remedy provided in the Note and thia Deed of Trust is distinct from and cuntulative to all other rights or remedion

under the Note and this Deed of Trust or afforded by. law or equity, and may be exercised concurrently, hidependently or ivaty.
te herein contained shall bind, and the

18. Successors and Assigns Bound; Joint ang Koveral Lichitity; Captions, The covensnts and ags «
rights-hereunder shall inure to, the respecti jore und assigns of Lander and Borrower, subject to the provisions of paragraph 24.(Trasiafer of the
ton), All covenants and ag ie of Borrower shall be joint aad 1. The captions and headings of the paragraphs (ath eed of

Property; A ption)
Trust are for convenience only and are not to be used to interpret of define the provisions hereof.
16: Notte. Excopt for any notice required by tal to be given in another manner, (a) any notice to Borrower provided for in tris Deed of Trust:

in writing and shalt bo given and be effective pod (1) delivery to Borrower or (2) mailing such notion by firet-olaes U.8, rail of t

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“dhill be in writing and shall be given and be effective upon (1) delivery to Len:
“+ shalf'be deemed to have been given lo Borrower or Lender when given in any manner designated heroin.

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herein or at such other address as Borrower may designate by notice to Lender oa provided herein, and (b) any notice to Lander oa
der or (2) mailing kuch notice by first-class U. 8. mall, to Lender's addréss:

Borrower's address stated
The Note and this Deed of Trust shall be govemed by the law of Colorado. In the event that any provision or

Nicts with the law, such conflict shall not affect other provisions of this Deed of Trust or the Note whitol can
f the Deod of Trust and Note are dectared to be severable.

17, Governing Law; Severability.
clause of this Deed of Trust or the Note con’ ,
bergiven effect without the conflicting provision, and ti> this end the provisions o

18, Acceleration; Forect 4; Other Remedies. Except as provided in paragraph 24 (7! ransfer of the Property; Asaumption), upon Borrower's
breach of any co’ tof ag t of B: in this Doed of Trust, or upon any dofantt in a prior lien upon the Property, (unless Borrower has exer-
shall be immedistoty due and payable

cled Borrower's sights under paragraph 6 above), st Lender's option, all of the aums secured by this Deed of Trot
(Acceleration). To jae this option, Lender may iavoke the power of vale and any other remedies permitted by law, Lender shall be entitted to collect
dies provided in this Deed of Trust, inchuding, but not limited to, reasonable attorney's fees.

If Lender invokes the power of aule, Lender shall give written notice to Trustes ofsuch election. Trusteoshall give such notice to Borrower of Borrower's
rights os is provided by law. Trustee shall record 8 copiy of such notice as required by law. Trustee shall advertise the time and place of the sale of the Prop-
erty, for not ess than four weeks in a pap of geheral circulation in esch county in which the Property ie situated, and shall mail coples of such notice
of sale (o Borrower and other persons as prescribed by taw. After the lapse of such time as may be required by taw, Trustee, without démand on Borrower,
shall sall-the Property st public auction to the highest bidder for cash at the time and place (which may be wn the Property or any part.thereof as permitted
by law) in one of more parcels as Trustoe may think beat and in such order as Truates may determine. Lender os Lender's designee may purchase the Prop-
city at any aale, 1¢ shall aot be bligatory upon the purchaser of any such sale to see to the application of the purchase money.

Trustee shall apply the proceeds of the sale in the following order: (0) to allt dle costs and exp of the sale, including, but not limited to,
reasonable Trustee's and altomey's fees and costs of litte evidence; (b) to all suma secured by this Deed of Trust; and (c) the excess, if any, to the perion
or persons legally entitled thereto.

19. Borrower's Right to Care Default. Whenever forect b 4 for nonpayment of any sums due hereunder, the owners of the Property

be entitled to cure said defeults by paying all delinquent principal and intorest payments due aa of the date of cure, cost,

all's ble costs and exp d in pursuing the

or parties lisblo hereon shall | }
pe late charg! y's fees and other fees ail in the manner provided by law. Upon such payment, this Deed of Trust ond the obligitions secured
hereby shell remain in full-force and effect we though «2 Acceleration had occurred, and the forest proceedings shall be dl tinued.

20, Assig ¢ of Renta; App t of Receiver; Lendar Sn Possession, As additional security hereunder, Borrower hereby assigns to Lender
therents of the Property; however, Borrower shall, prier to Acceleration under paragraph 18 (A leration; Foreclosure; Other Remedios) or ahando tof
the Property, have the right to collect and retain such tents as they become dus and payeble. :

Lender or the holder of the Trustes's certificate of purchase shall be entitled (o a receiver for tle Property afler A jeration under paragraph 18

(Acceléralton; Foreck ~ Other Remedies), and shall suo be 80 entitted during the time covered by foreclosure proceedings and the period of redemption,
if any; and shall be entitled thereto os & matter of right'without regard to the solvency of insolvency of Borrower or of the then owner of the Properly, ond
without regard to the value thereof, Buch receiver may be appointed by any Court of competent juriediction upon ex parte epplicetion and without notlee—
notice being hereby expressly waived. :

Upon Acceleration under paragraph 18 (Accetorat} Forech Other Remedies) or aband: 1 uf the Property, Lender, in pertoe, by, agent or by
judiclalty-appointed receiver, shall be entitled to enter upon, take p jon of and ge the Property aad to collect the rents of the Property,‘ Inchaticig.
thous paat due. Ail rents collected by Lender or the receiver shall be applied, first, to payment of the costs of preservation and. management of the ‘Property,
second, to payments dus upon prior Hens, and (hen.to the sums secured by thie Dood of Trust. Leader tad the receiver shall be fisbte to account only for
those sents actually received. :

21, Release, Upon payment of al! sums secured hy this Deed of Trust, Lender shall cause Trustee to release this Deed of Trost and shall produce for.
Trustee the Nots, Borrower shall pay afl coste of recordation and shall pay the stetulory Trustes’s fees. If Lender shall not produce the Note as afocedald;

then Lender, upon notice in accordance with paragrephi 16 (Notice) from Borrower to Lender, shall obtain, af Lender's expense, and file any Lost bistrarnent
bond required by Truxtes of pay the cost thereof to efiect the release of this Deed of Trust.

we Waiver of Exemptions. Borrower hereby waives all right of homestead and soy other exemption in the Property under state or fodera) law pevs-
ent tating or heresft A VEO,

23. Escrow Funds for Taxes and lnenrance. ‘This paragraph 23 is not applicable if Funds as defined below ate being paid pursuant to a prior encum-
brance. Subject 10 applicable law, B: shall pay to Lender, on each diy installments of pri pal and interset acc payable under thie Note, until the
Note ia paid in full, a sam (herein referred to as "Punds”) equal to of the yeasty taxes and assesiments which may aitala
priory over this Deed of Trust, plus of yearly premium instalments for Property I all as ciably eotkeasted
intially and from time to time by Lender on the basis of asseqemonts snd bills and bb i by f, taking into account any excese Funds fot
used of shortages.

The principal of the Funds shall be held in a separate sccount by the Loader in trust for the benefit of the Borrower and deposited in an institution the
deposits of accounts of which are insured or guaranteed by a federal or ulate agency. Leader shell apply tho Funds to pay sald taxes, assessments and inate-
ance premiums. Lender may not charge for 80 holding and applying the Funds, analyzing suid ecoount of vorifying and compiling sald assecsinenis and ‘bills,
Lender shall not be required to pay B any inte(eat of earuila ge on the Funds, Lender shall give to Borrower, without charge, an annual accounting of
the Funds showing credits and deblis to the Funds ang the purpoae for which each debit to the Funds was made. The Funds ere pledged a additiodal secur
ay for the sums secured by this Deed of Trust. :

If the amount of the Funds held by Lender shall not be sufficient to pay taxes, te and i premi as they fall. due, Borrower shall:
pay to Lender any amount necessary to make up the deflelency within 30 days from the date notice is vee in accordance with peragraph 16 (Notiog) by
Lender to Borrower é t thereof. Provided b , ithe oan d by this Deed of Trust is subject to RESPA of other lows ropilating
Exctow Accounts, such defictency, surplus or any othye required adjustment chall be pad, credited or adjusted in piance with such appticabla taws,

Upon payment in futl of olf sums secured by this Deed of Trust, Lender shall slmukaneously reflind (¢ Borrower any Pusds held by Leader, If under
paragraph 18 (Acceleration; Forec! : Other Remedies) the Property is sold of the Property is otherwise acquired by Lander, Lender shall ipply, ao later
than immediately prior to the sale of the Property oriite acquisition by Lender, whichever occurs fiat, any Funds held by Lender at the tine of application
as acredit against the sums secured by this Deed of Trust. ,

24. Transfer of the Property; A ption. The following events shell be referred to herein as a “Transfer™: (i) transfer or conveyance of tiale (or
any portion thereof, legal or equitable) of the Property (or any part thereof of interest therein), (li) the execution of a ct ot agreement crestings
title (or any portion thereof, legal or equitable) in tHe Property (or any pari thereof or intersat therein), (ili) or an agr t grantingap ory
the Property (or any portion thereof), in excess of thebe (3) years, (iv) # sale of tranafer of, or the tion of a ct or agroaciont. cf
acquire or receive, more than fifly percent (50%) ofthe controlling interest or niore then fifhy percent ($046) of the b ffclal interest in the Bo
the! reorganization, liquidation or dissolution of the Norrower, Not to be inchided se a Transfer are (i) the creation of a lien oF encumbrance out
to this Deed of Truat, (ii) the jon of a purchase mhonoy ity interest for household appl or (Hide fer by davies, didcont or by ‘
of the law upon the death of'a joint tenant, At the efeition of Lender, j aes of ach a ,

Ne. TD13-7.96.

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N, ve } v4
oo * (a) Borrower shell, upon Lender's req t, submit information required to enable Lender to evaluate thé creditworthiness. of the pérmon (*Transferee")
r whois, or li to be, the ricipient of a Transfer, as if a now loan were being tiade to Transferee, If Transferee ts.re bly di ined by the Leader to be
‘financially incapable of retiring the indebtedness accordingto its terms, based upon standards, ity used by p in the businesa of making loans on
reat cateto.in the same or siniilar circumstances, then all sums secured by this Deed of Trust shall become immediately duo and payable (“Acceleration”).
(6) ‘If Lenides exercises such option to Accelerate, Lender shall give Borrower notice of Acceleration in accordance with paragraph 16 (Notice). The
Hotice shall taform Borrower of tho right to assert in the foreclosure p ding the nonexist of a default or any other def of B to Accel
tion and aslo, Such notice shall also provide a period of not less than 10 days from the date the notice ix given within which Borrower may pay the sums
declared duc, If Borrower faits to pay such sums prior to the expiration ofsuch period, Lender may, without further notice or demand on Borrower, invoke
any remedies permitted by paragraph 18 (Acceleration; Forech Other Reniedies). Lender shall give notice of' such Acceleration, within thirty (30) days

after notice of any Transfer ix given to Lender by B: or Tranaferee in 3 with paragraph 16 (Notice). If Lender shall not give notios of such

Acceleration within auch thirty (30) days, then Lender will have no further cight to such Acceleration.

! (0) Ifa Transfer occurs and should Lender not exercise Lender's option pursuant to this paragraph 24 to Accelerat Tranaferee shall bod d to have
assumed all of the obligations of Borrower under this Deed of Trust including all sums secured hereby whether or not the instrument evidencing aech con-
veyance, contract or grant expreasty so provides. This covenant shall sun with the Property and remain in full force and effect until said sums aro-paid io
full. ‘The Lender may without notice to the Borrower deal with Transferee in the same es with the Borrowor with reference to ‘said'sitms inokit i ig
the payment oF eredis to Transferee of undisbursed reterve Funds on payment in full of said aums, without in any way altering oF disctiargiig the Borrower's
lishilidy hereunder for the abtigs ions hereby J.

-@y Should Lender not elect to Accelerate upon the of such Transfer then, subject to.(b) above,

, aent subsequent to any of such events, whether or not Lender had actual or constructive notice of such Transit be de
} pi'to make such election nor shall Lender be topped therefrc by virtue thereof, The isnimie on behalf “Lesider.of ayoutin
me ing the atatus of the loan, whether of not Lender hiad actual or constructive notice ‘of'such Transfer) shall not bea waiver be eatoppet of Le

sald rights. : :

, - ‘28: Barrewer's Copy. Borrower acknowledges receipt of a copy of the Note andthis Deed of Trust.
EXECUTED BY BORROWER.
PERSOMKs):

y . a -

: . “Sieeretiary: .

(SEAL)

OWER 18 PARTNERSHIP:

STATE OF COLORADO.”

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TAT LUTS (amal - Koaney A. LONG UVaserFloUV 52906

| Gmail Rodney Long <rodneylong866@gmall.com>

Rodney A. Long Case#16CV32568

7 messages

Rodney Long <rodneylong866@gmail.com> Mon, Dec 10, 2018 at 2:27 PM
To: Robert Abrams <robert@abramslaw.net>, Paralegal <plegal@abramslaw.net>, jenn.abramslaw@gmail.com,
neil@abramslaw.net

Bcc: jamesdarnel@comcast.net

Mr. Abrams'

| was recently forwarded your e-mail from your paralegal Mike, regarding your most recent threat to withdraw from my
case without adhering to the Judge's order that you file a brief on the outstanding legal issues. Robert, as you know from
my multiple e-mails and correspondence, | am deeply concerned about the lack of professionalism displayed and
understanding of your ethical obligations. Throughout my representation, you have dealt with my concerns with |
callousness and malfeasance that is professionally reprehensible. Your recent e-mail, whereby you threaten not only to
withdraw from my case but completely stop working despite the court's order, is in absolute violation of rules of ethics and
professional conduct. During our recent court appearance, it was apparent to the Judge that my case has become
unnecessarily challenging, in part due to your incompetence and failure to present case facts and issues in a cogent
manner.

You promised me at our hearing on December 5th, that you would work diligently on my matter. You even seemed to see
the wisdom in showing me some modicum of respect, despite then seeking to withdraw. At the hearing, we were finally
able to communicate on some level to get matters presented to the Court regarding proper resolution. Even though | have
paid you substantial funds to date, our disagreement on your reasonable and appropriate fees should not justify failure to
complete court ordered filings. The basis for you to properly follow the judge's orders is in my best interest, and your
ethical responsiblity.

Therefore, | am expecting you to file a well-researched and legally appropriate brief grounded in relevant facts and law on
or before December 15th, 2018. Whether or not you shall seek to file another motion to withdraw, | expect you to abide by
all the Court's orders until any withdrawal is granted, and do not go against my interest to vacate any scheduled hearing
dates. | also expect to meet with you to specifically go over the evidence to be presented, and should you lack the
courage and professional fortitude to meet, | expect you to be prepared for the currently scheduled hearing.

In my best Interest, any withdrawal should also be combined with an agreement and stipulation between you and Mr.
Beattle, that a continuance is agreed upon. In addition, that full and complete compliance with Judge's orders, will be
accomplished before any withdrawal is granted.

Lastly, | know that we have a dispute regarding your fees. | have given you notice of my concerns about the integrity of
your billing, which we can address upon your withdrawal being granted. However, | will not discuss the billing issues
under your inappropriate threat to harm my case. | look forward to hearing from you at your earliest convenience and |
hope that you have already begun to comply with the Judge's orders.

Best Regards,
Rodney A. Long

Robert Abrams <robert@abramslaw.net> Mon, Dec 10, 2018 at 3:15 PM
To: Rodney Long <rodneylong866@gmail.com>, Paralegal <plegal@abramslaw.net>, jenn.abramslaw@gmail.com,
neil@abramslaw.net

Hello:

Rodney, | can tell you did not write this letter. As such, | shall not respond to avoid an attorney client privilege Issue. We're
withdrawing from your case today, will not be filing any motions for you b/c we have no evidence your Biscay fien Is real. We will

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December 13, 2018

The Honorable Ross B.H. Buchanan
Denver District Court Judge
1437 Bannock Street, Courtroom #275

Denver, CO 80202
Re: Case Number 16CV32568; Smith, Cherise v. Long, Rodney ET AL

Dear Judge Buchanan:

| am begging for mercy in your decision because my legal counsel; Attorney Robert Abrams
perjured himself when he stated that he did not receive any documents from me in reference to this
case. Not only did ! forward the documentation of cancelled money orders, via email to Mr. Abrams on
December 05, 2018 (see attached). | also informed him in court, in person after the hearing on
December 05, 2018; that | would be a witness and testifying at the upcoming hearing in January 2019.

Mr. Abrams intentionally mislead the judge and the courts and falsified and withheld information from
the courts. | am in the process of filing a grievance against his license and his law firm for his actions.

Judge you even noticed in court that Mr. Abrams admitted never even reviewing any of the previous
counsel’s trial documents that were sent to his office. Mr. Abrams would never even meet with me to
prepare for this hearing/case. Attached is the correspondence proving that Mr. Abrams not only
received the documents needed for the hearing in a timely manner; but that his law firm refused to
forward them to you as requested by the courts which resulted in your decision against me.

Signed.

Ark t 2-

Rodney A. Long

Lae

rder: ETCC

Case:19-17941-KHT Doc( HAIFA AR AA © meron Pagelo of 20

06/24/2019 03:13 PM R $68.00 D $0.00
City & County of Denver JUD
: Electronically Recorded
DISTRICT COURT, CITY AND COUNTY OF DENVER,
STATE OF COLORADO
DATE FILED: December 12, 2018 2:23 PM
Court Address:

1437 Bannock St., Denver,.CO 80202

Plaintiff,

& COURT USE ONLY A
CHERISE SMITH
Vv.
Case Number: 16CV32568
Defendants,
RODNEY LONG ET AL

Ctrm: 275

TRIAL MINUTES, ORDERS ON POST-TRIAL MOTIONS, AND JUDGMENT

THIS MATTER came before the court for a jury trial December 11-15, 2017. Plaintiff
Cherise Smith was represented by R. Bret Beattie. Defendants Rodney Long, Long’s Properties,
LLC, R & L Investments Corp., Rod’s Cars Inc., and Rod’s Place Inc. were represented by
James Halpin and Dustin Klein. A jury of seven members was selected, including one alternate,
and the parties stipulated that the alternate would deliberate. Thus, seven jurors deliberated.

I. TRIAL MINUTES

The court heard the testimony of the following witnesses: Cherise Smith, Rodney Long,
Robert Johnson, and Darnell Sykes. The court admitted the following exhibits: 1-69, and 75.

After hearing the evidence, and being instructed on the law, the jury deliberated and
returned VERDICT FORM 1: FRAUD IN THE INDUCEMENT, with Part B thereof completed
and signed, indicating a verdict in favor of Defendant Rodney Long and against Plaintiff on that
claim; VERDICT FORM 2: BREACH OF THE FIDUCIARY DUTY BY LONG, with Part A
thereof completed and signed, indicating a verdict in favor of Plaintiff and against Defendant
Rodney Long on that claim, and awarding economic damages of $37,841 and noneconomic
damages of $10,000; VERDICT FORM 3: FRAUDULENT CONCEALMENT, with Part A.
thereof completed, indicating a verdict in favor of Plaintiff and against Defendant Rodney Long
on that claim, and awarding economic damages of $1,401.34 and noneconomic damages of
$10,000; VERDICT FORM 4: CIVIL THEFT, with Part A thereof completed, indicating a
verdict in favor of Plaintiff and against Defendant Rodney Long on that claim, and awarding
damages of $46,206; VERDICT FORM 5: AIDING AND ABETTING, with Part A thereof
completed, indicating a verdict in favor of Plaintiff and against Defendants Long Properties
LLC, Rod’s Place, Inc., and R & L Investments Corp. on that claim, and awarding economic
damages of $0 and noneconomic damages of $10,000; VERDICT FORM 6: PUNIT]

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oc. 2019-80862 ODN 06-24-2019

IV. CIVIL THEFT CLAIM, PUNITIVE DAMAGES, ATTORNEYS FEES,
AND COSTS

On April 2, 2018, Plaintiff filed a Motion for Entry of Judgment for Treble Damages,
Attorney Fees and Costs (“Plaintiff’s Motion”). Defendants filed their Response thereto on April
23, 2018, and Plaintiff filed her Reply on April 30, 2018. The court heard additional argument on
this Motion at the hearing on August 22, 2018. The court will discuss each of the aspects of the
final judgment requested in Plaintiff's Motion sequentially.

A. Civil Theft Claim

Plaintiff requests that the jury’s verdict reflected on VERDICT FORM 4: CIVIL THEFT
in the amount of $46,206 be trebled, and that she be awarded attorney fees and costs.

Pursuant to C.R.S. §18-4-405, in an action for civil theft, the owner “may recover two
hundred dollars or three times the amount of the actual damages sustained by him, whichever is
greater, and may also recover costs of the action and reasonable attorneys fees.” The trebling of
the actual damages is mandatory under the civil theft statute. In Re Krupka, 317 B.R. 432, 439
(Bankr. D. Colo. 2004) (“Because the language used speaks in terms of what the owner may
recover as opposed to what the court may award, this Court does not believe that the statutory
language supports the argument that discretion lies with the trial court to either award treble
damages or not as it may deem appropriate.”); In Re Powell, 2008 WL 4489179 at *4 (D. Colo.
2008)(“As the Colorado legislature has determined that a victim of theft is entitled to treble
damages without specifically providing discretionary authority to the courts, I conclude that it is
inappropriate for a court to use its discretion in awarding treble damages to a victim covered by
the statute.”). See also, Steward Software Co., LLC v. Kopcho, 275 P.3d 702, 712-713 (Colo.
App. 2010)(Gabriel, J) (relying on Krupka and Powell, supra, and the parallel statutory language
pertaining to attorney fees and costs in concluding that an award of reasonable attorney fees is
also mandatory under the civil theft statute) rev’d on other grounds, 266 P.3d 1085 (Colo.
2011). Accordingly, by operation of the statute, judgment shall enter in favor of Plaintiff Smith
and against Defendant Long in an amount which is three times the amount of actual damages, or
$138,618.00.

B. Punitive Damages

Plaintiff requests that the court enter judgment on VERDICT FORM 6: PUNITIVE
DAMAGES in the amount of $35,000. At the hearing on August 22, 2018, Defendants argued
that the court should not treble the damages found by the jury on VERDICT FORM 4: CIVIL
THEFT, because it is essentially duplicative of the punitive damage award.

Both the punitive damages statute and the civil theft statute serve punitive purposes.
Frick v. Abell, 602 P.2d 852, 85 (Colo.1979)(“ The purpose for the award of exemplary
damages is to punish the wrongdoer as an example to others,” citing Ark. Valley Alfalfa Mills,
Inc. v. Day, 128 Colo. 436, 263 P.2d 815 (1953)); People v. Adams, 243 P.3d 256, 264 (Colo.
2010)(“Several courts have accordingly held that claims under section 18-4-405 were intended to

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oc: 2019-80862 ODN 06-24-2019

or downwards by consideration of the factors set forth in Rule 1.5(a) of the Colorado Rules of
Professional Conduct. Spensieri, supra, 804 P.2d at 270-271. Those factors are:

(1) the time and labor required, the novelty and difficulty of the questions
involved, and the skill requisite to perform the legal service properly;

(2) the likelihood, if apparent to the client, that the acceptance of the particular
employment will preclude other employment by the lawyer;

(3) the fee customarily charged in the locality for similar legal services;
(4) the amount involved and the results obtained;

(5) the time limitations imposed by the client or by the circumstances;
(6) the nature and length of the professional relationship with the client;

(7) the experience, reputation, and ability of the lawyer or lawyers performing the
services; and

(8) whether the fee is fixed or contingent.

The procedural history of the Plaintiff's request for attorney fees and costs in this
matter has been convoluted, to say the least. In her Motion, Plaintiff sought an award of
attorney fees in the total amount of $117, 240.38. In support of that request, Plaintiff
submitted the Affidavit of R. Bret Beattie as Exhibit A to her Motion, to which Mr.
Beattie attached a 22-page ledger itemizing the attorney fees incurred and costs expended
on Plaintiff's behalf in preparing and trying this matter. In their Response to Plaintiffs
Motion, filed April 23, 2018, Defendants contended that Plaintiffs counsel’s billing
records were “inflated and woefully deficient,” “unsupported by Plaintiffs counsel’s
affidavit,” and that the “supporting documentation is insufficient to support the time
spent.” Response, at 2. Defendants also noted that the Plaintiff had not submitted receipts
or invoices supporting her request for costs. Jd. However, the Response nowhere
contested any specific entries in Plaintiff’s counsel’s itemization, but rather requested a
hearing on attorney fees and costs.

Accordingly, the matter was scheduled for a hearing on June 11, 2018. However,
on May 24, 2018, Defendants filed an Unopposed Motion to Vacate Hearing on Plaintiffs
Attorney Fees and Costs, which the court granted and vacated the hearing. Then, on June
15, 2018, Defendants filed a Motion for Leave to File Motion to Amend Defendant’s
Response to Plaintiff's Motion for Attorney Fees, requesting leave to supplement its
Response, and arguing that Plaintiff’s award of attorney fees should be limited by the fact
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2 LEGAL, TAX OR OTHER COUNSEL SHOULD BF F-
° CONSULTED DEVORE SIGNING. J
_DEED OF TRUST
THI8 DEED OF TRUST is made this 13th. day ot _ May 2002
se R. Smith
whoveaddree is 4243 Flanders SE2, Denver, CO. SUZAT

and the Public Truetee of the County in which the Property (seo'parigraph 1) ie cihumad (Trustee); for the béneflt of

R and L Investments

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which has.the address of 1613 Biscay Circle, Auroras: Co, 80010
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Note, ad late charges a0 provided in tha Note and shall perform all of Borrower's other covenanta cox
& Application of Payments. Ail. paymrente received by Loader under the terms: ohall b
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Security), and the balance in accordance with the teres end conditions of the Note. ,
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attain @ priority over this Deed of Trust, and Jeaashold payments or ground rents, if any, in the manner set out in paragraph 23 (Bsorow Fosids for Taxes
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Borrower shall not ba required to make payments othorwiao required by this paragraph if Borrower, alter notice to Lender, sball.is good fat cont sat avich)
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70017'" st. Suite 650

Denver,CO 80202
(303) 322-4115

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E-mail: Robert@Abramslaw.net

www.AbramsLaw.net

The information contained in this e-mail message is attorney-client privileged and
confidential intended only for the ‘ndividual or entity named above. If you are not
the intended recipient, you are hereby notified any dissemination, distribution,
copying or other use of this coramunication is strictly prohibited. If you have
received this communication in error, please notify our office immediately at (303)
329-4115 and delete this message. Thank You. Abrams & Associates, LLC.

From: Rodney Long [mailto:rodneylongs866@gmail.com]
Sent: Friday, September 21, 2018 6:21 AM

To: Robert Abrams

Subject: Smith&long

Robert | need to meet | am not feeling good about my case anytime | talk to you | am rush off
| fill you have not took the time to learn about my case and don't know what's going on every
time will talk you looking at the time and tell me you have to run that why | lost the first time |
came to you because they told me you was good so far you just not Interested In my case
You make me feel that I'm wasting your time | would like to meet with you soon as possible |
do not want to happen to me again what happened to me the 1st time Can you Have your
paralegal set up an appointment | just had to feel in my heart Your firm has my best interests
So far I'm not feeling it

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(3) the fee customarily charged in the locality for similar legal services;
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| Gmail Rodney Long <rodneylong866@gmail.com>

Rodney A. Long Case#16CV32568

Rodney Long <rodneylong866@gmail.com> Tue, Dec 11, 2018 at 12:01 PM
To: Robert Abrams <robert@abramslaw.net> .

Cc: Paralegal <plegal@abramslaw.net>, jenn.abramslaw@gmail.com, neil@abramslaw.net

Bcc: jamesdarnel@comcast.net, Tracie Phillips <traclephillips45@gmail.com>

Hello,

Robert, | do not authorize you to withdraw from this case. You Mave failed to comply with the orders instructed by the
judge in the hearing on December 5, 2018. You admitted in court you never even reviewed any of the evidence
provided by previous counsel or myself in order to adequately prepare for my appeal and properly defend this case.

| sent you the evidence required by court that supports that the lien in question filed against 1613 Biscay was properly
and legally secured via email on the evening on 12/5/2018 and resent them again 12/20/2018. Your office has
acknowledged the receipt of money orders and notarized contracts; which were all located in the evidence boxes that
you and your staff failed to review when preparing for my appeal.

You have never taken the time to even meet with me to review the case, or any strategy. Itis evident even In court that
you are not aware of the circumstances surrounding this case , even the Judge polnted that out. | have paid you a
substantial amount of money and1| am the one who ordered the trial transcripts. How can you possibly prepare for a
case without reviewing the transcripts or any evidence?

| expect you to comply with the judges orders and file the appropriate motions and present the evidence ! provided you
with. You have all the evidence required to move forward with the case and you were paid to do a Job and | expect you to
fulfill your obligation.

When is a good time for us to meet? | will rearrange my schedule to accommodate you.

Regards, _
Rodney Long Keg. uo a _—

On Mon, Dec 10, 2018, 3:15 PM Robert Abrams <robert@abramslaw.net wrote:
(Quoted text hidden}

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GENERAL AFFIDAVIT
The within named person (Affiant), Virgil Carr , Who is a resident of
Denver County, State of Colorado , personally came and appeared

before me, the undersigned Notary Public, and makes this his/her statement, testimony and General
Affidavit under oath or affirmation, in good faith, and under penalty of perjury, of sincere belief and
personal knowledge that the following matters, facts, and things set forth are true and correct, to the best

of his/her knowledge:

On May 7, 2002, | Virgil Carr, witnessed the following statements of fact by Mrs. Cherise Smith; who

came to my office, located at, 1330 Leyden St. Denver, CO. 80220. Mrs. Cherise Smith at the time

was not married and was known to me as Miss Cherise Smith, whom | was introduced to previously
* by a mutual friend, Ms. Mary Lewis.

| vividly remember Mrs. Cherise Smith when she appeared at my office because she was driving a
burnt orange BMW car, and wearing brown pants, and a striped sweater that was white and burnt
orange and her lipstick matched the color of her car.

The reason Mrs. Cherise Smith came to my office on that date was to sign 2 documents and have
them notarized; specifically the documents that were being signed were:

1. Deed of Trust for the property located at, 1613 Biscay Cir. Aurora, CO. 80010; Adams County. In
the amount of $32,853.32.

2. Deed of Trust for the property located at, 3122 Marion St. Denver, CO. 80205; Denver County. In
the amount of $17,182.89.

Please see the attached documentation, pe Colorado State Law Requirements for Licensed
Notary's: Notary Log, Government issued ID, and required signature, which further validates the
authenticity of my statement.

Dated this“ OBth 1 day of December 2018
Std:
Sighature pf Affiant

County of Denver

Subscribed and sworn to, or affirmed, before me on this 08th day of December
20 18 by Affiant Virgil Carr

ignature of Notary“Public TRACIE L. PHILLIPS
NOTARY PUBLIC
09/05/2023 STATE OF COLORADO
My Commission Expires: NOTARY ID 20034029734

MY COMMISSION EXPIRES SEPTEMBER 6, 2023

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A basic fraud claim must establish that the defendant intentionally and materially misrepresented a fact, the
purpose of the misrepresentation was to defraud or mislead the plaintiff, the plaintiff reasonably relied on the
misrepresentation, and the plaintiff incurred actual damages due to the reliance. With a fraudulent concealment
claim, you must prove those elements, and you must also prove that the defendant owed you a duty to disclose
material information but failed to disclose it, As with other fraud complaints, a fraudulent concealment complaint
needs to include details about what the defendant allegedly did wrong and what was concealed or not disclosed
that should have been.

The duty to disclose material information must be based on a special relationship between the plaintiff and the
defendant. Occasionally, this type of duty has arisen just from a defendant having superior knowledge to a
plaintiff, but usually the context for these cases has been a direct negotiation in a business transaction. For
example, if the parties are entering into a business contract, there may be a duty to disclose information. Similarly,
business partners typically have a fiduciary relationship to each other. Generally, however, if there is no
contractual relationship, nor a confidential nor a fiduciary relationship, a court will not allow recovery for
fraudulent concealment.

. Fraudulent concealment can arise in different situations, but one common situation in which it arises is when a
person or entity with a duty to disclose intentionally hides information that is crucial to the other person's decision
about whether or not to invest.

When there is no special relationship, there is also no duty to disclose information. This lack of duty means that
even when an initial assessment has been provided voluntarily or partially, there may not be a duty to update it
with new impressions, even if not doing so could mislead the plaintiff. When the facts at issue are not peculiarly
within one party's knowledge, and the other party has the ability to know through ordinary intelligence the truth or
real quality of the representation's subject, that party is supposed to use those means to get at the truth. For
example, if you could have found out negative facts about an investment on your own, but you simply took an
easier route by belleving another person or choosing not to look into the facts, your attorney may not be able to
claim fraudulent concealment.

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billing

4 messages

Robert Abrams <robert@abramslaw.net> Wed, Dec 5, 2018 at 1:07 PM
To: Rodney Long <rodneylong866@gmail.com>

Hi Rod:

After today's hearing you owe the firm approx. $4k. it seemed like your wife
did not want to pay us anymore, but you said you would. Remember, we bill
hourly and if you want us to defend against all of Cherise's lies we need to
be paid. We will need, easily $4k more to get us through motions and
hearings; so, when you come down tomorrow, bring two checks for $2,500
each and we'll post-date both of them. This is in addt’n to the $2,500 cash.
Please advise.

All the best;
Robert Abrams

Attorney at Law

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